Case 2:05-cr-20286-.]PI\/| Document 8 Filed 08/10/05 Page 1 of 2 Page|D 11

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE 05 AUG l 0 AH
WESTERN DIVISION

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lG= 5`_'

 

UNITED STATES OF AMERICA

 

 

v.
JOHNNIE M. COHEN 05cr20286-Ml
ORDER ON ARRAIGNMENT
This cause came to be heard on% ?¢¢¢O¢ B§ the United States Attorney
for this district appeared on behalf of the o ment, an the defendant appeared in person and with
counsel:

NAME%MM § 4 W/% who is Retained/Appointed.
(, 0 "'“"'_

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (3 0) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

lT/l'u=,wd-efendant, Who is not in custody, may stand on his present bond.
The defendant (not having made bond) (being a state prisoner) (being a federal
prisoner) (being held without bond pursuant to BRA of 1984), is remanded to the custody

of the U.S. Marshal.
5 ,7/ mw HL`

UNITED STATES MAGISTRATE ]UDGE

 

CHARGES - 18:641
PUBLIC MONEY, PROPERTY OR RECORDS

Attorney assigned to Case: R. Oliver

Age: 66

This document entered on the docket sheet in compliance
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With Flule 5:': ami/or 32(b) FFlC.rP on _W t __

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 2:05-CR-20286 was distributed by faX, mail, or direct printing on
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Valeria Rae Oliver

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Honorable J on McCalla
US DISTRICT COURT

